                                                                                                           Case Number
     DEPARTMENT OF HOMELAND SECURITY
                                                                                                           2021012230018001
     U.S. CUSTOMS AND BORDER PROTECTION
                                                                                                           Port Code and Name

 NOTICE OF PENALTY OR LIQUIDATED DAMAGES INCURRED                                                          0122 JONESPORT

                           AND DEMAND FOR PAYMENT

                             19 USC 1 6 1 8 AND 19 USC 1623                                                22370287500

T O : A M E RI C AN S E AF O O D S C O M P ANY L L C

      2025 1ST AVE STE 900

      SEATTLE, WA 98121-2154




Demand is hereby made for payment o f $ 3 , 7 1 3 4 9w 1 , 8 0 , representing
                                                             i
                                                             i                        EJ   Penalties   O Liquidated     damages

assessed against you for violation of law or regulation, or breach of bond, as set forth below:




On 04/01/2020, the vessel Charles Island with country of flagging BAHAMAS, which is not documented for the

coastwise trade, engaged in the transportation of the following merchandise Frozen seafood between

ANCHORAGE where the merchandise was laden and CALAIS where it was unladen, both points in the United

States. You are liable for a civil monetary penalty for this activity equal to the value of the merchandise

transported or the value of the transportation, whichever is greater.



The subject merchandise was originally laden onto a non-coastwise qualified vessel at Dutch Harbor, Alaska,

United States; shipped by the non-coastwise qualified vessel to Bayside, New Brunswick, Canada; and

subsequently transported to Calais, Maine, United States. Both Dutch Harbor and Calais are points embraced

within the coastwise laws of the United States. Accordingly, as the shipper in this case, you transported or

caused the transportation of merchandise between coastwise points in the United States by way of a foreign port

in violation of 46 U . S . C . § 5 5 1 0 2 and 1 9 C . F . R. § 4.80. The violation date noted above is the first date the

merchandise was entered at the port of Calais,               M   aine.   he penalty amount represents the appraised value of the
                                                                         T



merchandise.     O   riginal documents should be mailed to the address indicated below.                You may also contact CBP

regarding this notice at portlandmainejonesact@cbp.dhs.gov. 2001 36-2



                 LAW OR REGULATION VIOLATED                                                      BOND BREACHED


                                                                                    Bond Activity Type: 3
           46   USC   55102, 1 9   CFR   4.80(b), 1 9 CFR 1 1 3 . 6 4
                                                                                    Bond #: 99 l 2MI825


Description of Bond                                      Bond Type                  Amount                 Bond Effective Date

International Carrier                                    8                          $50000.00              09/05/2012


Name and Address of Principal on Bond

AMERICAN SEAF OODS                 COMP   ANY    L LC

2025 1 ST   AV   E STE 900

SEATTLE,        WA    98121-2154


Name and Address of Surety on Bond                                                  Surety Identification No

WEST   C HE S T E R F IRE    IN   SU RANC E     CO   .                              897

6   MILL   RI   DGE   LN



CHESTER,        NJ   07930-2486




                                                                                                                           EXHIBIT 12
                                                                                                                           Page 1 of 2
                                                                                                        CBP Form 5955A ( 0 1/ 1 5 )

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                                                                                   Case Number
    DEPARTMENT OF HOMELAND SECURITY
                                                                                   2021012230018001

   U.S. CUSTOMS AND BORDER PROTECTION
                                                                                   Port Code and Name

NOTICE OF PENALTY OR LIQUIDATED DAMAGES INCURRED                                   0122 JONESPORT

                     AND DEMAND FOR PAYMENT

                       1 9 USC 1 6 1 8 AND 19 USC 1623                             22370287500


TO: AMERICAN SEAFOODS COMPANY LLC

     2025 1ST AVE STE 900

     SEATTLE, WA 98121-2154



If you feel there are extenuating circumstances, you have the right to object to the above action. Your

petition should explain why you should not be penalized for the cited violation. Write the petition as a

letter or in legal form; submit in duplicate, addressed to the Fines, Penalties and Forfeitures Officer at:

FPF OFFICE, 155 GANNETT DRIVE, RM 55, SOUTH PORTLAND, ME 04106-4110.


                                                                                                TIME LIMIT

                                                                                                FOR

                                                                                                PAYMENT
Unless the amount herein demanded is paid or a petition for relief is flied with the FP&F
                                                                                                OR FILING
officer within the indicated time limit, further action will be taken in connection with your
                                                                                                PETITION
bond or the matter will be referred to the Justice Department. Payment may be made
                                                                                                FOR RELIEF
through pay.gov or by remitting to the address above. Any partial payments will not be

considered an accord and satisfaction of the claim.                                             60 days from

                                                                                                the date of

                                                                                                this notice


Signature                                               Title                                   Date

WILLIAM POLICANO                                        FPF Officer (207) 771-3600              08/11/2021




                                                                                                       EXHIBIT 12
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